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  From:              Kerry Culpepper
  To:                "mkvcage@gmail.com"
  Subject:           mkvcage.fun movie piracy
  Date:              Thursday, September 5, 2019 5:30:00 PM


  Dear Mr. Faizan,

  Our law firm has filed two Federal copyright infringement lawsuits in the U.S. District Court for the
  District of Hawaii and requests for subpoenas to be issued on behalf of our clients, Bodyguard
  Productions, Inc and HB Productions, Inc.. The lawsuits were filed against multiple Defendants for
  distributing and promoting piracy apps for illegally sharing copyright protected content, including
  our clients’. We subsequently obtained identifying contact information for the registrants and
  operators of these websites from the registrars and host providers. Your contact information was
  supplied to us by Namechap as one of the Defendants who has illegally promoted and/or distributed
  torrent copies of our clients’ motion pictures in response to a subpoena. We are sending you this
  letter as a courtesy before we take additional legal action which may result in additional costs and
  fees.

  Ripping streams and Blu-ray discs to make copies of our clients’ motion pictures and torrent files and
  promoting and/or distributing torrent files for the purposes of infringing copyright protected
  material constitutes contributory copyright infringement, which is a violation of the Federal
  copyright statute, found at 17 U.S.C. § § 501-506. The Federal copyright statutes provide protection
  for copyright owners and permits the copyright owner to impound your material, recover their
  attorney’s fees from the infringer, and seek damages of $750.00 to $150,000.00 per work,
  depending on the circumstances surrounding the infringement.

  Please appreciate that our clients invested significant time, effort and money in making and
  marketing their motion pictures. Accordingly, they request financial compensation for the damages
  caused by piracy websites such as the yours.

  We would like to extend an opportunity for you to resolve this issue outside of Court. We would like
  for you to agree to cease all promotion and/or distribution of piracy apps and torrent files and pay a
  small portion of our clients’ damages. If you agree, you will avoid becoming a Defendant in a
  lawsuit.

  Please let me know if you are interested in discussing this opportunity. Please note that my clients
  will not ignore you simply because you are in a foreign country. Our clients have pursued litigation
  against individuals and companies in India, Pakistan, Vietnam and Ukraine for promoting piracy apps.
                  This offer will expire on 9/8/2019 if we receive no reply from you. We can extend these
  deadlines if you indicate to us prior to the deadline that you need more time to engage legal
  counsel.

  Do I need my own attorney?
           We strongly encourage you to consult with an attorney to review your rights in connection
  with
  this matter. If you obtain an attorney, please have them contact me.   Legal assistance may be


                                                   Exhibit "4"
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  available from the following:

                                               HSBA Lawyer Referral & Information Service (LRIS)
                                                                         (808) 537-9140
                                                                  http://hawaiilawyerreferral.com/
                                                                   Legal Aid Society of Hawaii
                                                                    www.legalaidhawaii.org
                                                                      808-536-4302 (Oahu)
                                                                Volunteer Legal Services Hawaii
                                                                          www.vlsh.org
                                                                     (808) 528-7046 (Oahu)
  We thank you in advance for your anticipated cooperation in this matter, and we look forward to
  resolving our client’s claim on an amicable basis.

  Sincerely,

  Kerry S. Culpepper
  kculpepper@culpepperip.com



  --
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  Suite B204
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  US Tel 1-808-464-4047
  US Tel 1-202-621-0218

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  sender.
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